Case 9:23-cv-81254-WPD Document 25 Entered on FLSD Docket 11/13/2023 Page 1 of 2




                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA

                                                                                      Case No. 23-CV-81254-WPD

  FABIENNE ULYSSE-OTTEY,

           Plaintiff,

  v.

  NEXTERA ENERGY RESOURCES,
  LLC,

        Defendant.
  _________________________________/

                             ORDER ON JOINT NOTICE OF SETTLEMENT


           THIS CAUSE is before the Court on the Joint Notice of Settlement, filed on November 9,

  2023. The parties state that this case has been settled and that they will file dismissal documents

  within thirty (30) days. The Court is otherwise fully advised in the premises.


           Accordingly, it is ORDERED AND ADJUDGED as follows:


           1.       Defendant’s Motion to Dismiss [DE 13] is DENIED AS MOOT;


           2.       On or before December 11, 2023 the parties shall file the appropriate dismissal

                    papers;


           3.       If the parties expect the Court to retain jurisdiction over a settlement agreement,

                    the stipulation of dismissal must include language conditioning the stipulation on

                    the Court retaining jurisdiction to enforce the settlement agreement. 1



  1
    “[F]or a district court to retain jurisdiction over a settlement agreement where the parties dismiss the case by filing
  a stipulation for dismissal pursuant to Rule 41(a)(1)(A)(ii) … the parties must condition the effectiveness of the
Case 9:23-cv-81254-WPD Document 25 Entered on FLSD Docket 11/13/2023 Page 2 of 2




          DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida,

  this 9th day of November, 2023.




  Copies furnished to:


  Counsel of Record




  stipulation on the district court’s entry of an order retaining jurisdiction.” Anago Franchising, Inc. v. Shaz,
  LLC, 677 F. 3d 1272, 1280 (11th Cir. 2012)(emphasis added).
